                           No. 22-1721


            In the United States Court of Appeals
                    for the Fourth Circuit

     MAXWELL KADEL; JASON FLECK; CONNOR THONEN-FLECK;
      JULIA MCKEOWN; MICHAEL D. BUNTING, JR.; C.B., by his
    next friends and parents; SAM SILVANE; and DANA CARAWAY,

                                           Appellees,

                                 v.

     DALE FOLWELL, in his official capacity as State Treasurer
     of North Carolina; and DEE JONES, in her official capacity
      as Executive Administrator of the North Carolina State
          Health Plan for Teachers and State Employees,

                                           Appellants.

         On Appeal from the United States District Court
            for the Middle District of North Carolina
                     Case No. 1:19-cv-00272

                       Brief of Appellants

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                         August 31, 2022
USCA4 Appeal: 22-1721         Doc: 5          Filed: 07/08/2022        Pg: 1 of 2




                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        •    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


            22-1721
        No. __________             Caption: __________________________________________________
                                            Kadel, et al. v. Folwell, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Dale Folwell (in his official capacity as the State Treasurer of North Carolina)
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
USCA4 Appeal: 22-1721       Doc: 5          Filed: 07/08/2022        Pg: 2 of 2




        4.     Is there any other publicly held corporation or other publicly held entity that has a direct
               financial interest in the outcome of the litigation?                              YES ✔ NO
               If yes, identify entity and nature of interest:




        5.     Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
               If yes, identify any publicly held member whose stock or equity value could be affected
               substantially by the outcome of the proceeding or whose claims the trade association is
               pursuing in a representative capacity, or state that there is no such member:




        6.     Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
               If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
               party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
               caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
               corporation that owns 10% or more of the stock of the debtor.




        7.     Is this a criminal case in which there was an organizational victim?                YES ✔ NO
               If yes, the United States, absent good cause shown, must list (1) each organizational
               victim of the criminal activity and (2) if an organizational victim is a corporation, the
               parent corporation and any publicly held corporation that owns 10% or more of the stock
               of victim, to the extent that information can be obtained through due diligence.




                    /s/Mark A. Jones
        Signature: ____________________________________                      Date: ___________________
                                                                                         7/8/2022

                     Dale Folwell (in his official capacity)
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

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            22-1721
        No. __________             Caption: __________________________________________________
                                            Kadel, et al. v. Folwell, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Dee Jones (in her official capacity as the Executive Administrator of the North Carolina State Health
        (name of party/amicus)

        ______________________________________________________________________________
        Plan for Teachers and State Employees)

         who is _______________________,
                          Appellant           makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


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        12/01/2019 SCC                                   -1-
USCA4 Appeal: 22-1721      Doc: 4          Filed: 07/08/2022        Pg: 2 of 2




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              financial interest in the outcome of the litigation?                              YES ✔ NO
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              of victim, to the extent that information can be obtained through due diligence.




                    /s/Mark A. Jones
        Signature: ____________________________________                     Date: ___________________
                                                                                        7/8/2022

                     Dee Jones (in her official capacity)
        Counsel for: __________________________________




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                      STATEMENT OF JURISDICTION

      This is an appeal from an order of the United States District Court

for the Middle District of North Carolina (Biggs, J.). Plaintiffs/Appellees

(hereinafter “Plaintiffs”) invoked federal question jurisdiction and Ex

Parte Young, seeking an injunction under the Equal Protection Clause of

the Fourteenth Amendment. Upon Plaintiffs’ motion for partial summary

judgment, on June 10, 2022, the district court issued an injunction that

(1) required Defendants/Appellants (hereinafter “Defendants”) to

eliminate one of the Plan’s coverage exclusions and (2) mandated that

Defendants provide coverage for “medically necessary services for the

treatment of gender dysphoria.” JA3734. Defendants timely noted this

appeal on July 1, 2022. JA3642-3643; see Fed. R. App. P. 4(a)(1)(A). This

Court has jurisdiction pursuant to 28 U.S.C. § 1292(a)(1).

                         QUESTIONS PRESENTED

I.    Plaintiffs challenge the North Carolina State Health Plan’s failure
      to cover certain prescriptions and surgeries. In Geduldig v. Aiello,
      417 U.S. 484, 494–96 (1974), the Supreme Court held that
      challenges “related to the asserted underinclusiveness of the set of
      risks that the State has selected to insure” are subject to rational
      basis review. Did the district court err when it applied intermediate
      scrutiny to the Plan’s coverage exclusion?

II.   No federal or state law requires the State Health Plan to cover all
      medically necessary treatments. Did the district court err by
      concluding that Plaintiffs are “similarly situated” to other Plan

                                   -1-
       participants   who   receive   treatments   for   different   medical
       diagnoses?

III.   Does the district court’s injunction improperly fail to “state its
       terms specifically” and “describe in reasonable detail” the “act or
       acts restrained or required” in the order itself, as required by
       Fed. R. Civ. P. 65(d)(1)?

IV.    Did the district court improperly admit and rely upon facts outside
       the record in its order granting summary judgment?

V.     Did the district court abuse its discretion in excluding certain
       portions of Defendants’ expert testimony?

                              INTRODUCTION

       The North Carolina State Health Plan spends nearly $4 billion each

year for health care services. The Plan’s structure is not financially

sustainable: costs increase by 7% per year, while funding increases by

only 4% per year. JA171. Defendants and other Plan officials have

focused on reducing costs as one strategy to preserve the Plan’s fiscal

health. JA167. Defendants prioritize coverage for “basic health” needs

affecting a large portion of Plan members, such as diabetes, orthopedic

issues, rheumatoid arthritis, and cancer. JA171-173. The Plan declines

requests to expand covered benefits unless the changes benefit the

overall health of the Plan’s population or the new benefits are required

by law. Id. This is possible, in part, because no federal or state law

requires large employer-sponsored group health plans, like the State

                                      -2-
Health Plan, to cover every medically necessary treatment for members,

and the Plan does not. JA164-165.

     Plaintiffs are Plan members who are either transgender or parents

of transgender minors. Plaintiffs also have been diagnosed with gender

dysphoria, which is a psychiatric condition that can affect transgender,

cisgender, and gender-non-binary individuals alike. JA207; JA209-211,

JA204-205. Plaintiffs assert that certain prescription drugs and

surgeries—such as hormone supplements and cosmetic surgeries, among

others—are medically necessary treatments for gender dysphoria.

     This case pits Plaintiffs’ desire for the Plan to pay for these

treatments against one of the Plan’s longstanding coverage exclusions.

Since the 1990s, the Plan has not covered “[t]reatment or studies leading

to or in connection with sex changes or modifications and related care.”

JA181. 1 Plaintiffs may obtain these treatments on their own, regardless

of whether the State Health Plan will provide coverage for them.




1    The Plan suspended this exclusion for the 2017 calendar year,
     awaiting the outcome of litigation over a federal regulation
     mandating such coverage. The federal regulation was enjoined, and
     the Plan’s exclusion returned to effect at the conclusion of the one-
     year suspension.

                                  -3-
Nevertheless, Plaintiffs view this exclusion not as a limitation of coverage

benefits, but rather as an impermissible classification of Plan

participants.

     However, the State Health Plan provides every Plan participant

with the same health benefits to protect against the same health risks.

For example, the State Health Plan covers reconstructive breast surgery

following a mastectomy, regardless of whether the recipient Plan

member is transgender or cisgender. See N.C. Gen. Stat. § 135-48.50(7).

Likewise, the State Health Plan does not cover acupuncture treatments,

regardless of whether the recipient Plan member is transgender or

cisgender. The health risks covered and the premiums charged are

identical for every North Carolina state employee. Because the Plan

provides the same health coverage regardless of sex, gender or

transgender status, and because the district court’s judgment does not

hold that the Plan exclusion is the result of discriminatory intent, the

disputed coverage exclusion does not violate the Equal Protection

Clause.




                                   -4-
               STATEMENT OF THE CASE AND OF THE FACTS

I.   The North Carolina State Health Plan for Teachers and
     State Employees

     The North Carolina State Health Plan for Teachers and State

Employees (the “State Health Plan” or the “Plan”) is the largest

purchaser of healthcare and pharmaceuticals in North Carolina, JA154,

funding healthcare for more than 740,000 teachers, legislators, state and

local government employees, retirees, and their dependents. JA159-160;

JA167. Until 2018, Plan members paid no premiums for their own

health coverage, and enacting the current scheme, with a $50 monthly

employee premium for the most comprehensive plan, “was a herculean

effort.” JA173-174. The North Carolina General Assembly appropriates

money for the remaining costs of employee healthcare, but this

appropriation currently increases by only 4% per year while healthcare

costs are rising by 7% per year. JA171.

     Plan members can purchase coverage for their spouses and children

by paying the unsubsidized cost of the increased coverage. For the most

comprehensive plan, adding children results in an additional payroll

deduction of $255/month, adding a spouse costs an additional

$650/month, and adding both a spouse and children costs an additional


                                  -5-
$670/month. JA177. At a total cost of $720 per month ($50 for the

employee plus $670 for the spouse and family), lower-paid employees who

purchase family coverage must “work one week out of a month just to

cover their Health Plan for their family.” JA173. These high premiums

further undermine Plan solvency; they discourage healthy families from

enrolling in the Plan unless they already know they are about to incur

significant healthcare costs.

      Defendants Dale Folwell, in his official capacity as State Treasurer

of North Carolina, and Dee Jones, in her official capacity as Executive

Administrator of the North Carolina State Health Plan for Teachers and

State Employees, are state officials involved in the operation of the State

Health Plan.

II.   The Plaintiffs and Gender Dysphoria

      Plaintiffs either are, or were, enrolled in the State Health Plan.

Plaintiffs are either transgender individuals or the legal guardians of two

transgender minors. Plaintiffs also suffer from gender dysphoria, which

is a diagnosed mental illness. A person with gender dysphoria has a

“cognitive discontent” leading to “distress” from the “incongruence

between one’s experienced or expressed gender and one’s assigned



                                   -6-
gender.” AMERICAN PSYCHOLOGICAL ASSOCIATION, DIAGNOSTIC            AND


STATISTICAL MANUAL      OF   MENTAL DISORDERS 451 (5th ed. 2013).

Transgender identity is not mental illness. Id.

     Critically, not all transgender individuals suffer from gender

dysphoria. JA207; JA209-211. Inversely, “there may be people who have

symptoms of gender dysphoria, but they personally don’t identify as

transgender.” JA204-205, JA209-211. There is no evidence in the record

about what proportion of transgender individuals suffer from gender

dysphoria; one of Plaintiffs’ experts has stated that “no one knows the

answer to that [question].” JA213.

     Plaintiffs pay the exact same premiums, deductibles, and copays,

and are provided coverage for the same health risks, as every other

enrollee in the Plan. JA177.

III. State Health Plan Benefits and Exclusions

     A.    Plan Benefits

     The Plan provides coverage for thousands of diagnoses, but it is

not required by any law to, cannot, and does not cover every medically

necessary procedure. JA161; JA165. For each Plan coverage option,

the Plan’s benefits booklet describes the covered and non-covered



                                     -7-
diagnoses and services. JA172. The booklet specifically states that

coverage does not extend to “[a]nything specifically listed in this

benefits booklet as not covered or excluded, regardless of medical

necessity.” JA178. The Plan does not cover any treatments that are

not medically necessary. JA161; JA165.

     B.    Coverage Exclusions affecting Plaintiffs

     As established through discovery, the Plan provides counseling for

gender dysphoria on the same terms as any other diagnosed mental

illness. JA191 ¶28. Since the 1990s, the Plan has had coverage exclusions

that limit other treatments for gender dysphoria. JA158-159; JA175-176.

Even if medically necessary, the Plan does not cover:

           Cosmetic services, which include the removal of
           excess skin from the abdomen, arms or thighs,
           skin tag excisions, cryotherapy or chemical
           exfoliation for active acne scarring, superficial
           dermabrasion, injection of dermal fillers, services
           for hair transplants, electrolysis and surgery for
           psychological or emotional reasons, except as
           specifically covered by the Plan.

           Treatment or studies leading to or in connection
           with sex changes or modifications and related
           care.

           The following drugs or medications: . . .
           Experimental medication or any medication or
           device not approved by the Food and Drug


                                  -8-
           Administration (“FDA”)        for   the   applicable
           diagnosis or treatment.

JA179-182 (emphasis added).

     The Plan benefits booklet provides guidance to members about

covered benefits. Blue Cross/Blue Shield of North Carolina (“BCBS”),

the Plan’s current Third-Party Administrator, uses the Plan booklet’s

guidance to determine the precise benefits available to Plan members

using the health care industry’s medical coding system. JA184-185 at

¶¶6-7,11. CVS/Caremark (“CVS”), the Plan’s pharmacy benefit manager,

uses the Plan booklet to guide its management of the Plan’s prescription

drug coverage. JA156; JA197-200.

     C.    Implementation of the Plan’s Coverage Exclusions

     The Plan, BCBS, and CVS do not identify whether a participant

is transgender. JA170; JA187 ¶; JA191 ¶28; JA224-225. BCBS does not

consider a patient’s sex when reviewing claims connected to gender

dysphoria, and BCBS does not code or track whether a Plan participant

is transgender, cisgender, non-binary, or otherwise. JA190-191 ¶¶22,28.2




2    The Plan admittedly allows members to identify their gender upon
     enrollment, but members decide what information to provide and
     can switch their identified gender at any time. This information is

                                   -9-
     Payment for covered healthcare is based solely on the diagnosis and

procedure codes provided with the patient’s claim. When BCBS receives

a claim from a healthcare provider, it reviews whether the claim is for

(1) a Plan member with (2) a covered diagnosis and (3) is for a covered

procedure. If all three requirements are met, then BCBS pays for the

treatment. If one of these three variables is missing, then the claim is

denied. JA184-185 ¶¶6-9.

     Many of the treatments identified by Plaintiffs are considered

“cosmetic procedures” under BCBS guidelines and are automatically

denied for all Plan members, including several treatments that Plaintiffs

have identified as “medically necessary” for the treatment of gender

dysphoria, such as shoulder shaping, chin contouring and implants,

mandible reduction, and chondrolaryngoplasty (tracheal shave). JA190-

191 ¶25; compare JA4255-4256. BCBS also denies coverage for four

surgical procedures that are used only to treat gender dysphoria. JA188-

189 ¶20. Some other surgical procedures, such as mastectomies, are

covered for certain diagnoses, but are not covered when the



     used to perform statistical analysis of the health of the plan
     population, not to make coverage decisions. JA168-170.

                                 - 10 -
accompanying diagnosis indicates the procedures relate to treatment for

gender dysphoria. JA189-190 ¶21.

     CVS reviews prescription drug claims for the Plan. When a

prescription drug is not subject to prior authorization, CVS only

considers four questions: whether the beneficiary is an eligible Plan

participant, whether the drug is covered for any purpose by the Plan,

whether the pharmacy is in-network, and whether the prescription is

within quantity limits. CVS never inquires, and never learns, the

patient’s diagnosis or whether the member is transgender. Accordingly,

the Plan covers many medications that Plaintiffs seek (e.g. estrogen or

spironolactone). JA216-223.

     However, some medications are expensive or subject to abuse. For

these medicines, CVS requires the treating physician to obtain prior

authorization before filling a prescription. Once the healthcare provider

has submitted its request for prior authorization, CVS approval is based

on the supporting diagnosis. Seven medications identified by Plaintiffs

for treatment of gender dysphoria require prior authorization. None of

these medications are FDA-approved for treatment of gender dysphoria,




                                 - 11 -
so CVS denies coverage for them unless the Plan specifically directs

otherwise. JA224-225.

       D.   The 2017 Plan Year

       In December 2016, the Plan expanded its benefits to cover

treatment of gender dysphoria. At that time, the U.S. Department of

Health and Human Services had issued a regulation (later rescinded)

that required the Plan, as a recipient of federal funding, to provide

coverage for treatment of gender dysphoria. JA4684. See generally Health

Plan    Nondiscrimination     in   Health   Programs    and    Activities,

81 Fed. Reg. 31376 (May 18, 2016); replaced by Nondiscrimination in

Health and Health Education Programs or Activities, Delegation of

Authority, 85 Fed. Reg. 37160 (June 19, 2020).

       The Plan’s leadership was told that failure to expand its benefits

could lead to either suspension or termination of federal funding or

private lawsuits against the Plan. JA4684. At the same time, as the

Board of Trustees noted, litigation was ongoing that challenged the

new federal regulation. JA4686. The Board of Trustees suspended its

coverage exclusions specifically tied to or affecting gender dysphoria

for the 2017 Plan year only. JA4689-4690. By late 2017, the HHS



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regulation was enjoined by a federal court, and the Plan’s 2016

suspension (which authorized coverage for gender dysphoria) lapsed

by its own terms, with no further action by Defendants or the Board of

Trustees.

IV.   Procedural History

      Plaintiffs’ complaint raises claims against Defendants under the

Equal Protection Clause, the Affordable Care Act (“ACA”), and Title VII

of the Civil Rights Act of 1964. JA80-91. The district court denied

Defendants’ motion to dismiss Plaintiffs’ Equal Protection Clause and

ACA claims, see JA20-21 (Doc. Nos. 32, 45), and this Court affirmed a

portion of the district court’s decision, holding that the Plan itself had

waived sovereign immunity for ACA-related claims, on interlocutory

appeal, see Kadel v. N. Carolina State Health Plan for Tchrs. & State

Emps., 12 F.4th 422 (4th Cir. 2021) (No. 20-1409), as amended (Dec. 2,

2021), cert. denied, 142 S. Ct. 861 (2022).

      Plaintiffs moved for summary judgment on all three claims, see

JA278-79, and Defendants moved for summary judgment on the ACA and

Title VII claims, see JA106-107. A group of third-party medical

associations sought leave to file an amicus curiae brief in support of



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Plaintiffs’ motion for summary judgment, see JA95-101, which the

district court granted over Defendants’ objection, see JA466-476, JA3535-

3538; JA3539-3558. Plaintiffs also moved to exclude Defendants’ expert

testimony on grounds of qualification, relevance, and reliability. See

JA1092-3129.

     The district court granted partial summary judgment to

Defendants on Plaintiffs’ Title VII claims, JA3714-3720, and reserved

ruling on the parties’ motions regarding the ACA claims, JA3726-3727.

The district court granted partial summary judgment to Plaintiffs on

their equal protection claims, holding that “Defendants Folwell and

Jones, in their official capacities, are permanently enjoined from

enforcing the Plan’s exclusion and are ordered to reinstate coverage for

‘medically necessary services for the treatment of gender dysphoria.’” 3




3    The district court’s order initially indicated that the State Health
     Plan itself was also subject to this injunction, in violation of Ex
     Parte Young, 209 U.S. 123 (1908). The district court granted the
     State Health Plan’s motion to correct the order. See JA3645-3648;
     JA3649-3654; JA3658-3662; JA3663-3735. Accordingly, this Court
     has granted the State Health Plan’s motion to voluntarily dismiss
     its interlocutory appeal of the district court’s injunction. See Kadel
     v. N. Carolina State Health Plan for Tchrs. & State Emps., No. 22-
     1730 (4th Cir. Aug. 11, 2022) (ECF Nos. 33, 34).

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JA3734 (cleaned up). In reaching this conclusion, the district court

excluded one of Defendants’ expert witnesses entirely and limited the

scope of Defendants’ other expert testimony. JA3674-3699. The district

court also repeatedly relied upon factual assertions from the amicus

brief. See JA3665; JA3669; JA3671; JA3674; JA3705. Defendants timely

noted this interlocutory appeal. JA3642-3643.

                        SUMMARY OF ARGUMENT

     The threshold question on appeal is the proper equal protection

analysis. In Geduldig v. Aiello, the Supreme Court held that the Equal

Protection Clause does not require a government insurance plan to cover

pregnancy, even though that particular condition is inextricably linked to

sex. Excluding pregnancy “does not exclude anyone from benefit eligibility

because of gender but merely removes one physical condition—

pregnancy—from the list of compensable disabilities.” 417 U.S. 484, 496

n.20 (1974). Such benefit exclusions receive only rational basis review. Id.

at 494–95.

     The district court below distinguished Geduldig by concluding that

one of the Plan’s coverage exclusions, which references “sex changes or




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modifications,” is a facial sex classification. 4 The district court reasoned

that because one cannot implement the coverage exclusion without

knowing the patient’s sex, intermediate scrutiny is required. This

analysis is incorrect. To violate the Equal Protection Clause, the

government must treat one person differently from others with whom he

or she is similarly situated. The Plan’s coverage exclusion applies to all

participants, and the mere fact that a policy can “only be stated or

effectuated [by] referencing sex,” JA3704, does not trigger heightened

scrutiny.

     Second, the District Court erred by framing the equal protection

analysis in a manner that impermissibly relaxed Plaintiffs’ burden of

proof. “To succeed on an equal protection claim, a plaintiff must first

demonstrate that he has been treated differently from others with whom

he is similarly situated and that the unequal treatment was the result of




4    Because the district court found a facial classification, it concluded
     that it did not need to consider evidence from Plaintiffs or
     Defendants about the underlying purpose for the coverage
     exclusion. JA3702. Claims that the Plan’s coverage limitation is
     motivated by a discriminatory purpose to harm transgender
     individuals are unproven and incorrect, and they cannot form a
     basis for finding a violation of equal protection at this time.

                                   - 16 -
intentional or purposeful discrimination.” Morrison v. Garraghty,

239 F.3d 648, 654 (4th Cir. 2001).

     Thus, at summary judgment, Plaintiffs were obligated to establish

they are similarly situated to other Plan members. No physician or

health benefits plan can determine whether a treatment is “medically

necessary” without reference to the specific diagnosis that the physician

intends to treat. This distinction is inherent within the definition of

“medically necessary” that the district court adopted, sua sponte, from a

North Carolina law regulating private insurers. The concept of medical

necessity links together diagnosis and treatment.

     Therefore, a similarly situated person for purposes of Plaintiffs’

equal protection claim must be another Plan member who has the same

medical diagnosis. By using the term “medically necessary” healthcare

without this connection, the district court erroneously concluded that

Plaintiffs are similarly situated to other Plan members (whether

cisgender, transgender, gender-fluid, or gender-non-binary) even when

seeking treatments for totally different medical conditions.

     Third, the district court’s injunction is unlawfully vague and

unlawfully broad. The district court’s injunction does not simply prohibit


                                     - 17 -
the Plan from enforcing the specific coverage exclusion at issue in this

case. The injunction goes further, requiring the Plan to “reinstate

coverage for ‘medically necessary services for the treatment of gender

dysphoria.’” JA3734. The injunction does not define or otherwise explain

what services are medically necessary or how the Plan is to determine

compliance. Rule 65 requires every injunction, in the text of the order

itself, to “state its terms specifically” and “describe in reasonable detail”

the “act or acts restrained or required,” without reference to any other

document. Fed. R. Civ. P. 65(d)(1). The Court should reverse the

injunction as a violation of Rule 65.

     Fourth, the district court’s opinion relied in part on an amicus brief

submitted by several medical organizations at summary judgment, over

Defendants’ objection. This is improper. Summary judgment must be

granted based on “materials in the record.” Fed. R. Civ. P. 56(c)(1).

District courts are not independent fact-finding bodies, and they cannot

supplement the summary judgment record with inadmissible factual

evidence on disputed issues. Defendants objected to the amicus brief as

unsworn, untested expert testimony offered by a non-party outside of the

record.


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     Finally, the district court excluded portions of expert testimony

from Defendants’ expert witnesses and excluded one witness altogether.

This ruling is reviewed for abuse of discretion, but its analysis contains

reversible legal and factual errors. First, the court adopted a narrow

application of Daubert, looking not to the experts’ credentials as

scientists and physicians, but rather to their treatment of transgender

patients. In doing so, the court mischaracterized the qualifications of two

experts, concluding they have no familiarity with health care for

transgender patients despite explicit evidence to the contrary. Finally,

the district court excluded one expert witness as irrelevant, even though

his opinion and expertise demonstrate a core flaw with the district court’s

equal protection analysis. The district court’s evidentiary decisions

should be reversed and remanded for the proper analysis.

                               ARGUMENT

I.   Standard of Review

     This Court reviews a grant of summary judgment de novo. Ray

Commc’ns, Inc. v. Clear Channel Commc’ns, Inc., 673 F.3d 94, 299 (4th

Cir. 2012). “Summary judgment cannot be granted merely because the

court believes that the movant will prevail if the action is tried on the



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merits.” Jacobs v. N.C. Admin. Off. of the Cts., 780 F.3d 562, 568 (4th

Cir. 2015). Therefore, in assessing the district court’s reliance on specific

facts, this Court does not consider whether it is “more likely than not”

the conclusions are correct. Rather, all evidence is seen “in the light most

favorable” to Defendants, with the facts themselves and “all reasonable

inferences” drawn in Defendants’ favor. Harris v. Pittman, 927 F.3d 266,

272 (4th Cir. 2019). “To the extent that the district court’s injunction

relied upon weighing evidence or credibility determinations, then

Defendants will prevail on appeal.” Jacobs, 780 F.3d at 569.

     The district court’s evidentiary rulings are reviewed for an abuse of

discretion. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 143 (1997). The abuse

of discretion standard, however, “does not preclude an appellate court’s

correction of a district court’s legal or factual error.” Highmark Inc. v.

Allcare Health Mgmt. Sys., Inc., 572 U.S. 559, 563 n.2 (2014). “A district

court would necessarily abuse its discretion if it based its ruling on an

erroneous view of the law or on a clearly erroneous assessment of the

evidence.” Id.




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II.   The district court’s order disregards binding Supreme
      Court precedent in Geduldig v. Aiello.

      The district court held that the Plan’s decision not to provide

additional coverage for “[t]reatment or studies leading to or in connection

with sex changes or modifications and related care” is a facially

discriminatory classification. This is a question of law, which this Court

reviews de novo.

      A.     The district court incorrectly concluded that the
             coverage exclusion for treatments leading to “sex
             changes or modifications” is a facial classification.

      A facially discriminatory classification must “explicitly classif[y]

people based on sex.” Adkins v. Rumsfeld, 464 F.3d 456, 468 (4th

Cir. 2006); see also Int’l Union, United Auto., Aerospace & Agr.

Implement     Workers   of   Am.,   UAW      v.   Johnson   Controls,   Inc.,

499 U.S. 187, 199 (1991) (Facial discrimination depends “on the explicit

terms of the discrimination.”). The distinction between individuals

based on sex must form the basis for the government’s differential

treatment.

      The district court found a facial classification in the text of the

Plan’s coverage exclusion simply because it contains the word “sex.” This

is incorrect. The Equal Protection Clause does not require intermediate


                                    - 21 -
scrutiny when government policy cannot be understood without knowing

the concepts of sex or gender. JA3704. Instead, the Equal Protection

Clause is implicated when individuals receive different treatment

“because of” their sex, gender or transgender status. Cf. Pers. Adm’r of

Massachusetts v. Feeney, 442 U.S. 256, 279 (1979). To constitute a facial

classification, the coverage exclusion must treat a person “differently

from others with whom he is similarly situated” on the basis of sex or

gender. Kerr v. Marshall Univ. Bd. of Governors, 824 F.3d 62, 82 (4th

Cir. 2016) (quoting Morrison, 239 F.3d at 654). See Adkins v. Rumsfeld,

464 F.3d 456, 468 (4th Cir. 2006) (Statute that defines “spouse” as

“husband or wife” is facially gender-neutral).

     The district court’s understanding—that government policies that

reference gender or sex in any way are automatically subject to

intermediate scrutiny—rests on a misapplication of Grimm v.

Gloucester County School Board, 972 F.3d 586, 608 (4th Cir. 2020). See

JA3703. In Grimm, the Fourth Circuit considered a policy that expressly

distinguished based on sex: “the school district will provide male and

female restroom and locker room facilities in its schools.” In Grimm,

however, the policy dictated which restrooms the students could use,


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and it directed students to different restrooms after considering their

sex. 5

         In contrast, the Plan’s coverage exclusion does not distinguish

between biological male and biological female participants. Nor does the

exclusion distinguish between transgender and cisgender participants.

The coverage exclusion applies to all Plan members. Transgender Plan

members are in both the group that suffers from gender dysphoria, for

which Plaintiffs allege these treatments are medically necessary, and the

group that does not suffer from gender dysphoria, who do not require

these procedures. JA207; JA209-211. 6 Accordingly, the “fiscal and



5        The district court also erroneously invoked the Supreme Court’s
         political-process doctrine for its sweeping assertion that heightened
         scrutiny applies whenever a policy uses “gendered” language.
         JA3702-3703. Washington v. Seattle Sch. Dist. No. 1 addresses “the
         right to full participation in the political life of the community,”
         458 U.S. 457, 467 (1982); it has no application here. See also Lewis
         v. Governor of Alabama, 896 F.3d 1282, 1297 (11th Cir. 2018), on
         reh’g en banc, 944 F.3d 1287 (11th Cir. 2019) (noting a majority of
         the Supreme Court has questioned this line of authority).
6        One cannot even assume that a majority of transgender individuals
         seek treatment for gender dysphoria. When asked how many
         transgender individuals suffer from gender dysphoria, Plaintiff
         experts testified “no one knows the answer to that [question].”
         JA213. Nor is it true that only transgender people suffer from
         gender dysphoria; patients with gender dysphoria may not identify
         as transgender at all. JA204-205; JA209-211. Accordingly, this case

                                      - 23 -
actuarial benefits of the [Plan] thus accrue to members of both sexes,”

and to those who identify as cisgender and transgender. Geduldig, 417

U.S. at 496 n.20.

     The district court concluded that the facial classification

discriminates “between medically necessary treatments that align with

the member’s sex” and “medically necessary treatments . . . that do not.”

JA3703-3704. Under equal protection, however, “[t]he proper comparator

is the provision of the medical benefit in question,” not the policyholder’s

identity or the effect of the medical benefit on a particular class. In re

Union Pac. R.R. Emp’t Practices Litig., 479 F.3d 936, 944 (8th Cir. 2007)

(upholding exclusion for contraception); see also Alexander v. Choate,

469 U.S. 287, 303 (1985) (Medicaid’s “package of services has the general

aim of assuring that individuals will receive necessary medical care, but

the benefit provided remains the individual services offered—not

‘adequate health care.’”).

     The Supreme Court first reached this conclusion in Geduldig v.

Aiello, holding that California’s short-term disability insurance plan did



     presents an even clearer application of the principles articulated in
     Geduldig than did the facts in that case itself, where the coverage
     exclusion affected exclusively members of one sex.

                                   - 24 -
not discriminate when it excluded coverage for pregnancy. 417 U.S. 484

(1974). Like Plaintiffs here, the Geduldig dissenters argued that

whenever    “the   State   employs      a   legislative   classification   that

distinguishes between beneficiaries solely by reference to gender-linked

disability risks, the Court is not . . . free to sustain the statute on the

ground that it rationally promotes legitimate governmental interests.”

Id. at 503 (Brennan, J., dissenting).

     The Court held otherwise: “[w]hile it is true that only women can

become pregnant, it does not follow that every legislative classification

concerning pregnancy is a sex-based classification.” State officials can

exclude coverage “on any reasonable basis” as with “any other physical

condition.” Id. at 496 n.20. Like California, Defendants are entitled to

decide “not to create a more comprehensive insurance program” through

the “selection of the risks insured by the program.” Id. at 496. Heightened

scrutiny does not apply so long as “[t]here is no risk from which men are

protected and women are not,” and “there is no risk from which women

are protected and men are not.” Id. at 496–97. The same is true here:

there is no equal protection violation because there is no risk from which




                                  - 25 -
cisgender plan members are covered and transgender plan members are

not, and vice versa. 7

      In a recent case with strikingly similar facts, a Georgia district

court recognized that “[w]ith Geduldig, ‘the Supreme Court has

foreclosed’” Plaintiffs’ argument—and the district court’s conclusion

below—that the coverage exclusion “facially discriminates on the basis of

sex.” Lange v. Houston Cnty., Georgia, 2022 WL 1812306, at *7–8 (M.D.

Ga. June 2, 2022). The Lange court correctly set forth the application of

Geduldig as follows:

            [Plaintiffs here have] the same coverage as other
            [Plan participants] because the [e]xclusion[s]
            appl[y] equally to a male seeking to become a
            woman or a woman seeking to become a man. And
            even if transgender individuals are entitled to
            protection under the Equal Protection Clause as a
            separate and distinct class from that of males and
            females, the same logic would apply. In other
            words, the [e]xclusion[s] create[ ] two groups—
            those that want [“treatments that lead to or are


7     The Supreme Court reaffirmed Geduldig earlier this year in Dobbs
      v. Jackson Women’s Health Org.: “The regulation of a medical
      procedure that only one sex can undergo does not trigger
      heightened constitutional scrutiny unless the regulation is a ‘mere
      pretext designed to effect an invidious discrimination against
      members of one sex or the other.’” 142 S. Ct. 2228, 2245–46 (2022)
      (quoting Geduldig, 417 U.S. at 496 n.20).


                                  - 26 -
           connected to sex changes or modifications”
           (JA3709)] and those that do not. Both groups
           contain    transgender    members      and non-
           transgender members, so a “lack of identity” exists
           between the policy and transgender status. Thus,
           in the context of the Equal Protection Clause, the
           Exclusion does not facially discriminate on the
           basis of sex.

Lange, 2022 WL 1812306 at *8.

     When the Government distinguishes among individuals using

their membership in a protected class, then it is using a facial

classification. See Nguyen v. INS, 533 U.S. 53, 56–57 (2001). In contrast,

when the Government distinguishes “between medically necessary

treatments,” JA3703, this classification is subject to rational basis

review even when the excluded benefit is primarily, or even exclusively,

significant to members of a protected class. Such coverage exclusions

merely “relate[] to the asserted underinclusiveness of the set of risks

that the State has selected [to] insure.” Geduldig, 417 U.S. at 494.

Under rational basis review, the Equal Protection Clause does not forbid

the discretionary, actuarial benefits coverage decisions made by the

State Health Plan, including the decision not to cover certain

treatments for gender dysphoria, unless Plaintiffs prove that the Plan




                                  - 27 -
intended to harm Plaintiffs based on their sex or transgender

identities. 8

      B.        The district court’s analysis of which medical
                conditions may only be defined “with reference to sex”
                straightforwardly contradicts Geduldig.

      To avoid confronting Geduldig, the district court created an

artificial and inconsequential distinction between medical “conditions”

(such as normal pregnancy in Geduldig) and the medical “treatments”

requested by Plaintiffs (in connection with the medical condition of

gender dysphoria). JA3708. This misunderstands the factual context of

Gelduldig. The insurance plan in Geduldig covered “conditions” and not

“treatments” because it was a short-term disability plan, not a health

benefits plan. 417 U.S. at 486.

      The district court’s order further semantically distinguishes

Geduldig by suggesting that the status of being pregnant can be

described without consideration of one’s biological sex. JA3709

(“Pregnancy can be described without reference to sex, gender, or




8     Again, the district court did not find impermissible discriminatory
      intent in its opinion below. JA3702 (noting that “[n]o inquiry into
      [ ] purpose is necessary” for facial classifications).

                                   - 28 -
transgender status.”). This is an attempt to sidestep Geduldig rather

than to obey it. The Geduldig Court explicitly defined pregnancy with

“reference to sex” (“only women can become pregnant”) and went on to

hold that this connection does not have constitutional significance: “it

does not follow that every legislative classification concerning pregnancy

is a sex-based classification.” 417 U.S. at 496 n.20. “Absent a showing

that distinctions involving pregnancy are mere pretexts designed to effect

an invidious discrimination against the members of one sex or the other,

lawmakers are constitutionally free to include or exclude pregnancy from

the coverage of legislation such as this on any reasonable basis, just as

with respect to any other physical condition.” Id.

     The Plan did not move for summary judgment on Plaintiff’s Equal

Protection claim, recognizing that it is for a jury to determine whether

the Plan’s coverage limitation is a pretext “designed to effect an invidious

discrimination,” Geduldig, 417 U.S. at 496 n.20.

     C.    The district court improperly applied                Title   VII
           principles to its equal protection analysis.

     Finally, the Supreme Court’s decision in Bostock v. Clayton County,

140 S. Ct. 1731 (2020), does not reduce the controlling effect of Geduldig.

JA3706-3707; see Dobbs, 142 S. Ct. at 2245–46 (quoting Geduldig,

                                   - 29 -
417 U.S. at 496 n.20). The district court cited Bostock in support of its

conclusion that a facial classification exists because “one cannot explain

gender dysphoria without referencing sex or a synonym.” JA3706-3707.

But Bostock only applies in the statutory context of Title VII, not to an

interpretation of the Fourteenth Amendment’s Equal Protection Clause.

Therefore, Bostock does not affect the validity of Geduldig.

     The Supreme Court expressly limited its holding in Bostock to Title

VII claims involving employers who fired employees because of their gay

or transgender status: “An employer who fires an individual merely for

being gay or transgender defies the law.” 140 S. Ct. at 1754. The Bostock

Court held that Congress made a policy choice in the Title VII statute

when it commanded that “[a]n individual employee’s sex is ‘not relevant

to the selection, evaluation, or compensation of employees.’” Id. at 1741

(quoting Price Waterhouse v. Hopkins, 490 U.S. 228, 239 (1989)

(plurality)). The Supreme Court did not hold that the drafters and

ratifiers of the Fourteenth Amendment made the same policy choice.

“[S]tatutory prohibitions often go beyond the principal evil to cover

reasonably comparable evils.” Oncale v. Sundowner Offshore Servs., Inc.,

523 U.S. 75, 79 (1998).


                                  - 30 -
     The Supreme Court has “never held that the constitutional

standard for adjudicating claims of invidious racial [or gender]

discrimination is identical to the standards applicable under Title VII.”

Washington     v.     Davis,   426 U.S. 229,   239   (1976).   Purposeful

discrimination under the Constitution “requires more than intent as

volition or intent as awareness of consequences.” Ashcroft v. Iqbal,

556 U.S. 662, 676 (2009) (quoting Feeney, 442 U.S. at 279). Plaintiffs

must prove that the Plan has undertaken a course of action “because of,

not merely in spite of, the action’s adverse effects upon an identifiable

group.” Id. at 677.

     This burden of proof, in turn, requires the inquiry into

discriminatory intent that the district court’s summary judgment ruling

preempted. See JA3702 (noting that “[n]o inquiry into [ ] purpose is

necessary” for facial classifications). The decision below should be

reversed and remanded for the fact-finding that the district court

ignored. The correct equal protection inquiry presented by the Plan’s

coverage exclusion is whether (1) when the Plan originally adopted this

exclusion in the 1990s or (2) when the Plan suspended the exclusion for

2017 (and took no action to prevent the automatic reinstatement of the


                                   - 31 -
exclusion in 2018), it did so because of the impact on transgender

individuals. Such questions of motive are for trial, not summary

judgment.

III. The district court improperly analyzed the requirement
     that Plaintiffs must prove they are “similarly situated” for
     purposes of the Equal Protection Clause.

     “To succeed on an equal protection claim, a plaintiff must first

demonstrate that he has been treated differently from others with whom

he is similarly situated and that the unequal treatment was the result of

intentional or purposeful discrimination.” Garraghty, 239 F.3d at 654

(emphasis added). This is a foundational requirement of equal protection

jurisprudence. See, e.g., City of Cleburne, Tex. v. Cleburne Living Ctr.,

473 U.S. 432, 439 (1985) (The Equal Protection Clause “is essentially a

direction that all persons similarly situated should be treated alike.”).

     The district court’s analysis ignored Plaintiffs’ burden of proof on

this point. Its critical error was looking only to the desired treatment

(surgery    or   prescription   medications)   without   considering    the

treatments’ connection to the disease or disorder that the procedure or

prescription purports to treat. JA3703 n.4 (assuming that treatments at

issue are medically necessary). No physician or health benefits plan can



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determine whether a treatment is “medically necessary” without

reference to the specific diagnosis that the physician intends to treat. “[A]

function of medical diagnosis is to determine in what ways individuals

are not similarly situated so that they can be treated accordingly.” Gann

v. Schramm, 606 F. Supp. 1442, 1447 (D. Del. 1985). Providing different

medical treatment for different medical diagnoses is not discriminatory

because patients with different medical diagnoses are not similarly

situated in the first instance.

      This distinction is inherent within the definition of “medically

necessary” that the district court adopted, sua sponte, from a North

Carolina law regulating private insurers. JA3667. That definition links

the patient’s diagnosis and the prescribed treatment. Under the district

court’s definition, “medically necessary services or supplies” must be

“[p]rovided for” and “[n]ecessary for and appropriate to” the “diagnosis,

treatment, cure, or relief of a health condition, illness, injury, or disease.”

JA3667 (quoting N.C. Gen Stat. § 58-3-200(b)).

      A similarly situated person for purposes of Plaintiffs’ equal

protection claim, then, must be a Plan member with the same medical

diagnosis. There, the relevant comparator becomes clear. Both a


                                    - 33 -
cisgender woman and transgender man with cervical cancer are eligible

for a hysterectomy, irrespective of their gender identities. Likewise,

neither individual is entitled to coverage for this procedure for the

purpose of treating gender dysphoria. Both cisgender men and

transgender women receive coverage for an orchiectomy to treat

testicular cancer, but neither receives coverage for this same procedure

to treat gender dysphoria. 9 Cisgender, transgender, gender-fluid, and

gender-non-binary individuals all have coverage against the risk of

needing breast reduction or mastectomy surgery to treat breast cancer,

though none have coverage against the risk of needing this same

procedure for gender dysphoria. The State Health Plan’s implementation

of the coverage exclusion makes this link clear. JA183-196.

     By using the term “medically necessary” healthcare without tying

it to the diagnosis that makes such a conclusion possible, the district

court erroneously concluded that Plaintiffs are similarly situated to other



9    Neither a hysterectomy nor an orchiectomy can be accurately
     defined or described without “reference to sex” because both
     procedures are the removal of a sex organ. Even so, a health
     insurance plan’s decision to cover either, or neither, does not violate
     the Fourteenth Amendment absent proof of purposeful invidious
     discrimination. See Dobbs, 142 S. Ct. at 2245–46.

                                  - 34 -
Plan members (cisgender, transgender, gender-fluid, and gender-non-

binary) seeking treatments for totally different medical conditions.

     This remains true even when different diagnoses might have the

same prescribed treatment. “A diagnosis of degenerative disc disease

with chronic low back pain is different in fact from a diagnosis of cancer,”

even though both patients can benefit from the same pain medicine.

Flaming v. Univ. of Texas Med. Branch, 2016 WL 727941, at *9 (S.D. Tex.

Feb. 24, 2016). An individual with testicular cancer may need

testosterone injections, but that person is not “similarly situated” to

someone     with    gender    dysphoria.     See   McMain      v.    Peters,

2018 WL 3732660, at *3–4 (D. Or. Aug. 2, 2018), aff’d, 2019 WL 3321883

(9th Cir. July 24, 2019) (no violation of Equal Protection Clause for

inmate seeking testosterone injections even though inmates with similar

symptoms and a diagnosis of Klinefelter Syndrome receive injections).

     The district court exacerbated its analytical error by failing to

observe the burden of proof at summary judgment. The district court

acknowledged that Defendants provided expert evidence that “no reliable

studies show that [surgical and hormone] treatments reduce the

likelihood” of negative mental outcomes for individuals with gender


                                   - 35 -
dysphoria. JA6398 n.3. On summary judgment, this statement alone

creates a material issue of fact about whether Plaintiffs’ desired

treatments are ever “[n]ecessary for and appropriate to” the diagnosis,

treatment, cure, or relief of a health condition, illness, injury, or disease.

JA3667 (quoting definition of “medically necessary” at N.C. Gen Stat.

§ 58-3-200(b)). 10




10    The district court concludes that one of Defendants’ experts, Dr.
      Stephen Levine, supports the medical necessity of surgery and
      hormone treatment for gender dysphoria under some
      circumstances. JA3695-3697.
      This misunderstands Dr. Levine’s views. Dr. Levine does not
      support “denying all medical interventions to people with gender
      dysphoria.” JA3685. The question whether State officials should
      prohibit hormone treatment and surgery for gender dysphoria is,
      however, a “separate question” from the question whether
      insurance should cover the procedures as medically necessary.
      JA3685-3686.
      Medical necessity requires more than a willingness to make a
      procedure available to patients. The treatment must be “[n]ecessary
      for and appropriate to” the “diagnosis, treatment, cure, or relief” of
      gender dysphoria. N.C. Gen. Stat. § 58-3-200(b).
      Dr. Levine does not “recommend” hormones or surgery as cures for
      gender dysphoria because he cannot say whether they work.
      JA2986. This is because there are no long-term, peer-reviewed,
      reliable research studies that allow physicians to know “the
      percentage of patients receiving gender transition procedures who
      are helped by such procedures, using objective criteria” or the
      “percentage of patients receiving gender transition procedures who

                                    - 36 -
      The district court’s incorrect substantive analysis allowed it to

assume away Plaintiffs’ burden of proof at summary judgment, holding

that “it is sufficient at this stage that those affected and unaffected by

the exclusion are all members of the plan who seek similar or identical

treatments.” JA3707-3708. However, Plaintiffs are simply not “similarly

situated” to other Plan participants who seek treatment for different

medical diagnoses. Accordingly, the district court’s equal protection

analysis should be reversed on the ground that Plaintiffs have failed to

establish discrimination relative to “similarly situated” Plan members.

IV.   The district court’s injunction violates Fed. R. Civ. P. 65
      because it is impermissibly vague.

      The Federal Rules of Civil Procedure require all injunctions to

specifically state the reasons for an injunction, specifically state the

terms of the injunction, and “describe in reasonable detail—and not by

referring to the complaint or other document—the act or acts restrained

or required.” Fed. R. Civ. P. 65(d). See, e.g., Scott v. Clarke, 355 F.

Supp.3d 472, 477 (W.D. Va. 2019) (holding that because the “detailed




      are harmed by such procedures, measured with objective criteria.”
      JA3253.

                                  - 37 -
settlement agreement” approved by district court was not itself

reproduced in court’s order, settlement agreement was not enforceable by

contempt). The district court’s failure to comply with Rule 65 is an error

of law, and it is subject to de novo review.

     Injunctions must not be “founded upon a decree too vague to be

understood.” Gunn v. Univ. Comm. to End War in Viet Nam,

399 U.S. 383, 389 (1970). “Congress [has] responded to that danger by

requiring that a federal court frame its orders so that those who must

obey them will know what the court intends to require and what it means

to forbid.” Id. “[B]asic fairness requires that those enjoined receive

explicit notice of precisely what conduct is outlawed.” Schmidt v. Lessard,

414 U.S. 473, 476 (1974).

     “The specificity provisions of Rule 65(d) are no mere technical

requirements.” CPC Int’l, Inc. v. Skippy Inc., 214 F.3d 456, 459 (4th

Cir. 2000) (quoting Schmidt, 414 U.S. at 476) (internal punctuation

omitted). “Compliance is mandatory and [the requirements] must be

observed in every instance.” Id. Without such specificity, “appellate

review of an injunctive order is greatly complicated, if not made

impossible,” and parties face “the possible founding of a contempt citation


                                   - 38 -
on a decree too vague to be understood.” Id. “[A]n order challenged on

appeal should be set aside if it fails to comply with the rule.” Charles A.

Wright et al., 11A FEDERAL PRACTICE AND PROCEDURE § 2955 (3d

ed. 2005).

     The district court’s injunction does not comply with Rule 65(d) . The

injunction consists of one prohibitive command and one mandatory

command. Defendants are (1) permanently enjoined from enforcing one

of the Plan’s coverage exclusions, and (2) ordered to reinstate coverage

for “medically necessary services for the treatment of gender dysphoria.”

JA3734. Both aspects of this order are impermissibly vague, but the

second requirement is particularly problematic.

     A.      The district court’s injunction regarding the gender
             dysphoria exclusion improperly refers to a document
             outside of the injunction itself.

     The first part of the injunction does not “specifically” identify the

coverage exclusion that Defendants cannot enforce. Fed. R. Civ. P. 65(d).

See JA3734-3735. Regardless of whether Defendants can infer the

district court’s intention, the injunction’s failure to comply with the

“mandatory” obligations of Rule 65(d) renders it invalid and reversible on

appeal. CPC Int’l, 214 F.3d at 459.



                                  - 39 -
     The district court’s second command also runs afoul of Rule 65. The

quotation marks around the phrase “medically necessary services for the

treatment of gender dysphoria” indicate that the district court is

referring to another document. This is impermissible even when the

quoted language has a clear citation. Fed. R. Civ. P. 65(d)(1)(C).

     B.    The district court’s injunction fails to adequately define
           its dispositive terms.

     More troubling, however, is the uncertainty as to the precise

definition of the phrase “medically necessary services for the treatment

of gender dysphoria” in the second portion of the injunction. In Pashby v.

Delia, this Court rejected a similar injunction on this ground.

709 F.3d 307 (4th Cir. 2013). The Pashby district court enjoined the

North Carolina Department of Health and Human Services from

imposing stricter eligibility requirements on in-home personal care

services for disabled Medicaid recipients than for other recipients. Id.

at 313. The injunction prohibited the State from “implementing IHCA

Policy 3E” (the challenged policy). Id. at 331. When the State undid the

entire policy, the district court modified its injunction “to clarify that the

injunction simply required the DHHS to continue offering in-home




                                    - 40 -
[personal care services] to the plaintiffs who qualified for it before IHCA

Policy 3E took effect.” Id.

     This Court rejected the injunction under Rule 65(d), holding that

the broad terms provided no guidance about whether the injunction also

prohibited the State from following other provisions in “ICHA Policy 3E”

that had nothing to do with the challenged financial requirements. Id.

Further, the district court failed to specify what policy requirements

would apply to future Medicaid beneficiaries. Id.11

     The second portion of the injunction here is impermissibly vague

for the reasons identified in Pashby. The injunction requires Defendants

to provide “medically necessary services for the treatment of gender

dysphoria” without any definition of this potentially boundless phrase.

Because the injunction offers no instructions on the precise extent and

scope of this critical term, it creates multiple unanswered questions. The

injunction provides no guidance as to which of hundreds of possible



11   Pashby makes clear that the district court cannot simply command
     that the State Health Plan follow the policy it adopted in 2017. The
     2017 policy was a good-faith attempt to comply with a federal
     regulation that never actually went into effect. The Plan has no way
     of knowing, with the certainty required by Rule 65, whether its
     earlier policy was sufficient to comply with that federal regulation.

                                  - 41 -
gender-affirming treatments Defendants must now cover under the

threat of contempt. Defendants could possibly defer to the judgment of

their current third-party administrator, but that is simply not what the

district court has mandated that they do.

     C.    Reference to the “last uncontested status between the
           parties” is inadequate to comply with Rule 65.

     The district court’s discussion of the rationale for its injunction

highlights its disregard of Rule 65(d). In its order, the district court

dismissed the hardship of its injunction on Defendants, “particularly

given that Defendants and their third-party administrators were able to

identify and cover medically necessary care in 2017.” JA3728.

     The instruction to “reinstate coverage” implies that the court is

simply restoring the “last uncontested status between the parties [that]

existed in 2017.” JA3729. But Plaintiffs’ own experts have testified that

“medically necessary services for treatment of gender dysphoria” are

not limited to only those procedures that the Plan briefly covered in

2017 (under threat of a now-rescinded federal regulation). JA45 (Doc.

No. 257 at 14–15). This is not feigned ignorance. One of Plaintiffs’

experts states that medically necessary surgeries “include, but are not

limited to”: “facial feminization surgery, liposuction, lipofilling, voice

                                  - 42 -
surgery,   thyroid    cartilage    reduction,      gluteal   augmentation

(implants/lipofilling), and hair reconstruction” as well as “pectoral

implants” and “various aesthetic procedures.” JA4255-4256 ¶¶ 25–26.

None of these allegedly “medically necessary” treatments were covered

in 2017. See JA4711. (BCBS policy that “[c]osmetic services that may

be used for gender confirmation” are not medically necessary). The

district court’s opinion refers to denial of “vocal therapy,” JA3666, but

there is no evidence the Plan has ever paid for vocal therapy for

treatment of gender dysphoria.

     Rule 65 specifically forbids the Court from ordering the Plan to “go

figure it out yourself” by delegating to Defendants the obligation to

“identify and cover medically necessary care.” This was “one of the

principal abuses of the pre-federal rules practice,” when courts imposed

“injunctions that were so vague that [a] defendant was at a loss to

determine what he had been restrained from doing.” 11A FEDERAL

PRACTICE AND PROCEDURE § 2955. Under the district court’s injunction,

however, this is precisely what has happened. The district court, not

Defendants,   must    precisely   identify   the    “medically   necessary”

treatments for which coverage must be provided. “Medically necessary”


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can be subjective, and Defendants should not have to risk a contempt

hearing if they get it wrong.12

     D.    The district court provides inadequate directions as to
           how its injunction interacts with the Plan’s other
           coverage exclusions.

     Finally, and perhaps most significantly, other facially neutral Plan

exclusions affect coverage for the treatment of gender dysphoria.

Defendants informed the district court about these overlapping

exclusions, yet the injunction fails to even acknowledge them. JA117;

JA178-181. Critically, the Plan excludes coverage for cosmetic surgery,

which is defined to include “surgery for psychological or emotional

reasons.” JA117. This coverage exclusion makes no reference to biological

sex, gender, or gender dysphoria, but it still wholly eliminates coverage

for surgical procedures to treat psychological diagnoses, which would

include gender dysphoria. The Plan also excludes “any medication or

device not approved by the Food and Drug Administration (FDA) for the



12   The district court suggests that its injunction is a prohibitory one,
     not a mandatory one. JA3729. This is incorrect. The coverage
     exclusions at issue have been in effect since the early 1990s, with
     the exception of the 2017 Plan year. The status quo position is that
     the Plan does not cover Plaintiffs’ desired treatments for gender
     dysphoria.

                                  - 44 -
applicable diagnosis or treatment,” unless the medication is for cancer

treatment and has been FDA-approved to treat a different type of cancer.

JA123 n.3. This exclusion also makes no reference to biological sex,

gender, or gender dysphoria, but wholly eliminates insurance coverage

for Plaintiffs’ desired gender dysphoria prescriptions. See JA3385-3387

(no prescription drugs are FDA-approved for treatment of gender

dysphoria). 13

      Although the district court’s injunction does not expressly

prohibit the Plan from enforcing these facially neutral exclusions, it

does create a dilemma by mandating that Defendants provide coverage

for “medically necessary services for the treatment of gender

dysphoria.” 14 Defendants should not be forced to interpret such

ambiguity and inconsistency. Defendants are without “explicit notice




13    One can easily determine which treatments are excluded by these
      coverage limitations “without comparing the member’s biological
      sex before the treatment to how it might be impacted by the
      treatment.” JA3704.
14    Given that the district court made no findings of disparate impact
      or discriminatory intent, it is unclear whether it would have had
      the authority to order Defendants to eliminate these facially
      neutral exclusions even if its injunction unambiguously
      communicated an intent to do so.

                                 - 45 -
of precisely what conduct is outlawed.” Schmidt, 414 U.S. at 476. The

district court’s failure to provide the required detail in its injunction is

reversible error.

V.   The district court’s summary judgment analysis improperly
     admitted, and explicitly relied upon, facts outside of the
     record.

     The district court’s grant of summary judgment is also improper

because the Court explicitly relied upon factual assertions—scientific and

medical assertions made in an amicus curiae brief—outside of the

discovery process.

     As the First Circuit has noted, “by the nature of things an amicus

is not normally impartial,” and “an amicus who argues facts should rarely

be welcomed.” Students for Fair Admissions v. President & Fellows of

Harvard Coll., 2018 WL 9963511, at *1 (D. Mass. Oct. 3, 2018) (quoting

Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970)) (internal

punctuation omitted). “Only a named party or an intervening real party

in interest is entitled to litigate on the merits, and a district court should

usually stop short of vesting amici with the ‘equal litigating rights of a

named party/real party in interest, thereby subverting the right of the

[parties] to effectively control the future course of the proceedings.’” Id.



                                    - 46 -
(quoting United States v. Michigan., 940 F.2d 143, 166 (6th Cir. 1991))

(punctuation omitted).

      Here, Defendants presented expert testimony that no reliable

medical studies show that Plaintiffs’ desired treatments—cross-sex

hormones and surgery to change one’s appearance—improve the health

and wellbeing of patients with gender dysphoria over time. JA3698 n.3.

      The district court, however, relied upon the amicus brief to reach

contrary conclusions. JA3669-3670 (quoting JA3539-3559) (Gender

dysphoria is “treated both through counseling and medical and surgical

treatments to bring the patient’s physiology in line with their gender

identity.”). See generally JA3665; JA3669-3671 (“Scientific background”).

      The district court cited the amicus brief for its conclusion that

“[t]reatments [for gender dysphoria] may include therapy, medications, or

surgery to align the patient’s physiology with their identity and ‘allow[ ] the

individual to transition from his or her birth assigned sex to the sex

associated with his or her gender identity.’” JA3665 (quoting JA3549).

Defendants’ evidence is that the effectiveness of these treatment has not been

sufficiently proven. JA3224 (summarizing analysis that no scientific evidence

indicates that hormonal treatment or surgery affects patient morbidity).


                                    - 47 -
      The district court set forth its justification for relying on these

extra-record facts in one sentence: “While an amicus brief itself may not

be considered as evidence on summary judgment if it would not be

admissible at trial, it appears that evidence supplied by amici may be

considered, so long as it would be admissible at trial and does not exceed

the scope of the arguments properly raised by parties to the suit.”

JA3535-3538. As support for this radical conclusion, the district court cited

a passing comment in Hirschfeld v. Bureau of Alcohol, Firearms, Tobacco

& Explosives, 5 F.4th 407, 441 (4th Cir. 2021), that stated it was “unclear”

whether this Court could rely on evidence submitted by amici when the

evidence was “neither adopted nor relied on” by the parties below.

      The judicial system relies upon on an assurance that evidence is

presented to a neutral decisionmaker through the adversarial process.

Judges, no less than jurors, cannot conduct independent factual research.

Indeed, when jurors engage in such conduct, this Court recognizes a

presumption that the defendant’s due process rights have been violated.

United States v. Lawson, 677 F.3d 629, 645–46 (4th Cir. 2012)

(presumption of reversal when juror consulted dictionary during criminal

trial). If the district court wanted to consider facts outside of the discovery


                                    - 48 -
process and beyond the parties’ expert witnesses, it was required to follow

the only available path: “judicial notice” of adjudicative facts. See

Fed. R. Evid. 201. Before doing so, however, the rules require the court

to conclude the adjudicative facts are “not subject to reasonable dispute”

because they are “generally known” within the Court’s territorial

jurisdiction or that the facts “can be accurately and readily determined

from sources whose accuracy cannot reasonably be questioned.”

Fed. R. Evid. 201(b).

     Plaintiffs had every opportunity to identify the trade organizations

who filed the amicus brief as witnesses with relevant evidence and to

provide Defendants with the opportunity to test these factual claims

through the standard discovery process. These interested organizations

had the right to seek to intervene. None of this occurred. Instead, the

district court considered evidence at summary judgment that was

brought forward by an unaccountable amicus brief, without any

opportunity for Defendants to rebut or cross-examine the unsworn

opinions therein.

     The district court improperly treated summary judgment, the stage

of litigation when all factual disputes must be resolved in favor of the


                                  - 49 -
non-movant (Defendants), as though it was the less constricted fact-

finding that often takes place at the preliminary injunction stage.

Rule 56 does not permit this. The court’s decision is limited to “materials

in the record.” Fed. R. Civ. P. 56(c). The grant of summary judgment is

improper and should be reversed.

VI.   The district court improperly excluded testimony from Drs.
      Hruz, Robie, and Lappert.

      Review of the district court’s evidentiary rulings is subject to review

for abuse of discretion. In this case, the district court applied the wrong

standard for excluding portions of Defendants’ expert testimony.

      A.   The district court misapplied Rule 702.

      Rule 702 of the Federal Rules of Evidence provides that “[i]f

scientific, technical, or other specialized knowledge will assist the trier of

fact to understand the evidence or to determine a fact in issue, a witness

qualified as an expert by knowledge, skill, experience, training, or

education, may testify thereto in the form of an opinion or otherwise.”

Fed. R. Evid. 702. The Supreme Court has held that this requires the

district court to determine that “any and all scientific testimony or

evidence admitted is not only relevant, but reliable.” Daubert v. Merrell

Dow Pharms., Inc., 509 U.S. 579, 589 (1993); see Benedi v. McNeil-P.P.C.,


                                    - 50 -
Inc., 66 F.3d 1378, 1383 (4th Cir. 1995) (holding that Daubert and Fed.

R. Evid. 702 superseded Frye v. United States, 293 F. 1013 (D.C.

Cir. 1923)).

     At the outset, the district court must consider the expert’s

qualifications to offer the testimony, including his or her professional

record and “full range of experience and training.” Belk, Inc. v. Meyer

Corp., U.S., 679 F.3d 146, 162 (4th Cir. 2012). But expert testimony may

rest on knowledge, skill, experience, training, or education. “These are

disjunctive; an expert can qualify to testify on any one of the grounds.”

Cooper v. Laboratory Corp. of America Holdings, Inc., 150 F.3d 376, 380

(4th Cir. 1998) (citing Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993)).

     Under Rule 702, expert testimony is relevant if it has “a valid

scientific connection to the pertinent inquiry” and helps “the trier of fact

to understand the evidence or to determine a fact in issue.” Daubert,

509 U.S. at 591–92. Significantly, the Supreme Court has instructed the

district court, “as gatekeeper, [to] conduct[ ] a flexible inquiry, focusing

on the principles and methodology employed by the expert rather than

the conclusions reached.” Smith v. Wyeth-Ayerst Laboratories Co.,

278 F. Supp.2d 684, 690 (W.D.N.C. Apr. 17, 2003) (citing Daubert,


                                   - 51 -
509 U.S. at 594–95). After all, a district court’s gatekeeping role “is not

intended to serve as a replacement for the adversary system, and

consequently, the rejection of expert testimony is the exception rather

than the rule.” In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices

& Prod. Liab. Litig. (No. II), 892 F.3d 624, 631 (4th Cir. 2018).

     B.    The district court’s approach to expert qualification is
           not consistent with this Court’s precedent.

     For several of Defendants’ experts, the district court excluded

testimony on the ground that the witnesses did not specialize in the

treatment of transgender patients. JA3681-3682 (Hruz); JA3690-3691

(Lappert). This analysis reflects the view of a small minority of courts,

outside the Fourth Circuit, that “an expert’s qualifications must be

within the same technical area as the subject matter of the expert’s

testimony.” Martinez v. Sakurai Graphic Sys. Corp., 2007 WL 2570362

at *2 (N.D. Ill. Aug. 30, 2007); see also O’Conner v. Commonwealth

Edison Co., 807 F. Supp. 1376 (C.D. Ill. 1992); Lebron v. Sec. of Fla. Dept.

of Children and Families, 772 F.3d 1352 (11th Cir. 2014).

     By concluding that Defendants’ experts are not qualified to provide

certain opinions because they have not performed certain narrowly-

defined medical procedures or published in specific journals, the district

                                   - 52 -
court artificially constrained the “technical area” of the substantive

issues at hand. Consistent with the inclusive approach mandated by

Rule 702, this Court should recognize that a multitude of medical

specialties—including, but not limited to, endocrinology and surgery—

affect the treatment of transgender individuals. Under this view, the

challenged experts clearly have an extensive substantive basis to offer

their opinions.

     Further, such a narrow focus directly contradicts this Court’s

standards for expert qualification. An expert’s research work is

straightforwardly not dispositive: “although publishing in a peer-

reviewed publication is often a hallmark of expert witness reliability,

that hallmark is a guidepost, not a mandatory prerequisite to

qualification as an expert.” United States v. Young, 916 F.3d 368, 381

(4th Cir. 2019). Here, the excluded experts’ knowledge, skill, and

education were more than adequate to establish their specialized

knowledge.

     C.    The    district   court        misconstrued   Dr.    Hruz’s
           qualifications.

     The district court stated that Dr. Paul Hruz has not “conducted any

original research about gender dysphoria diagnosis or its causes,”

                                 - 53 -
JA3681, but completely ignores his statement that—as the head of a

fellowship program at a teaching hospital—he supervises two fellows

who are directly engaged in primary research on this specific subject.

While he is not the “primary investigator” (a specialized term related to

grant funding), he is “directing [ ] fellows in that research to make sure

it’s of the highest quality and standards.” JA1236. The district court’s

statement that Dr. Hruz has never published peer-reviewed literature on

gender dysphoria is clearly erroneous. Compare the district court’s order

with the deposition transcript it cites:

           Q.    And as I understand this letter to the editor
                 is a commentary on another publication, on
                 another article; is that right?

           A.    It includes more information than just the
                 article itself. But, yes.

           Q.    And just pure curiosity, I don’t know the
                 answer to this, but are letters to the editor
                 peer reviewed?

           A.    This particular one was. I recall when we
                 were submitting this, that we were asked to
                 make changes. And I interpret that as being
                 peer reviewed.”

JA1239 (emphasis added).

     The district court stated that Dr. Hruz has “never treated a

transgender patient,” JA3681, even though the Plaintiffs’ exhibit

                                   - 54 -
referenced by the court says just the opposite. Dr. Hruz testified at his

deposition:

              I have not treated with hormones for the purpose
              of alleviating gender dysphoria. I have however
              treated patients that have experienced side effects
              related to that hormonal treatment including
              obesity, diabetes, dyslipidemia. So in that respect
              I have treated them, but not to address dysphoria.
              But, rather, the complications that have occurred
              in association with that treatment.

JA1255-1256.

     The district court’s evidentiary decisions are reviewed for an abuse

of discretion, but clearly erroneous fact-finding is an abuse of discretion.

The district court’s assessment of Dr. Hruz’s qualifications is flatly

wrong, diminishing his credentials with untrue statements, and its

exclusion of his testimony about the treatment of gender dysphoria

should be reversed.

     D.       The district court misconstrued the relevance of Dr.
              Robie’s testimony.

     Finally, the district court excluded expert testimony from Dr. Peter

Robie, M.D., as irrelevant, even though his opinion and expertise

demonstrate a core fallacy with the district court’s equal protection

analysis.



                                    - 55 -
     Dr. Robie has served as an internal medicine physician for more

than forty years, and he currently serves on the Board of Trustees of the

State Health Plan. The district court held that his testimony is irrelevant

because it only considered facial discrimination, not whether there was

intentional discrimination. JA3679. But Dr. Robie’s testimony is that, in

order to provide diagnostic and medical treatment that meets a

professional standard of care, physicians must consider the sex of their

patients. JA3500.

     Dr. Robie’s testimony demonstrates that the district court’s

understanding of medicine—that medical conditions, such as pregnancy,

“can be explained without reference to sex, gender, or transgender

status”—is false. JA3669. Dr. Robie’s testimony is that there is no such

thing as a gender-neutral diagnosis or gender-neutral medicine. Every

cell in a patient’s body has a specific biological sex coded into it, and all

medical diagnoses and treatments are sex-specific, whether the illness is

high blood pressure or gender dysphoria. No medical treatment or

medical condition, anywhere, can be “stated or effectuated without

referencing sex.” JA3704. The district court’s attempt to discuss medical

treatment in a gender-neutral manner is only possible because the court


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uses abstract or oblique language that does not reflect the actual

healthcare system. The district court’s exclusion of Dr. Robie’s testimony

should be reversed.

                              CONCLUSION

     Defendants respectfully request that this Court vacate the district

court’s injunction and remand for further proceedings.

                      REQUEST FOR ORAL ARGUMENT

     Defendants respectfully request oral argument on the issues

presented herein.

     Respectfully submitted this the 31st day of August, 2022.



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                      CERTIFICATE OF COMPLIANCE

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                        CERTIFICATE OF SERVICE

     I hereby certify that on August 31, 2022, I filed the foregoing

document through the Court’s CM/ECF system, which will serve an

electronic copy on all registered counsel of record.



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